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                                                                             May 18, 2022

Via ECF

The Honorable George L. Russell, III
U.S. District Court for the District of Maryland
101 W. Lombard St.
Baltimore, Maryland 21201

       Re:     Government Employees Health Association v. Actelion Pharmaceuticals Ltd., et
               al., 1:18-cv-3560-GLR

Dear Judge Russell:

       On June 15, 2021, the parties submitted a letter stating that “the parties consent to

transferring all discovery-related proceedings to a U.S. Magistrate Judge.” (ECF No. 68 at 4.) We

write on behalf of all parties to confirm their continued consent to referring all discovery-related

proceedings to a U.S. Magistrate Judge and hereby request such a referral.



                                                     Respectfully submitted,

 /s/ Shari Ross Lahlou                             /s/ Sharon K. Robertson
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